            Case 3:20-cv-02078-SI     Document 40       Filed 09/29/21    Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON



CONNIE WILSON,                                     Case No. 3:20-cv-2078-SI

               Plaintiff,                          ORDER

       v.

STATE OF OREGON, acting by and
through, DEPARTMENT OF
CORRECTIONS, a state agency, COLETTE
PETERS, an individual, ERIKA SAGE, an
individual, JOE BUGHER, an individual,
ROB PERSSON, an individual, JANE DOE,
an individual, and TONY KLEIN, an
individual,

               Defendants.


Michael H. Simon, District Judge.

       Plaintiff Connie Wilson sues the State of Oregon through the Oregon Department of

Corrections and several current and former state employees. The State of Oregon and other state

employees (State Defendants), excluding Defendants Tony Klein and fictional defendant Jane

Doe, moved for summary judgment. On August 25, 2021, the Court granted the State

Defendants’ motion, concluding that Plaintiffs’ claims were barred by the two-year statute of

limitations that applies to claims under the Oregon Tort Claims Act and the two-year statute of



PAGE 1 – OPINION AND ORDER
          Case 3:20-cv-02078-SI        Document 40       Filed 09/29/21     Page 2 of 2




limitations that applies to claims under 42 U.S.C. § 1983, because the statute of limitations

expired on June 12, 2020. On September 13, 2021, Plaintiff filed a motion for reconsideration,

arguing that the Court’s decision was based on the State Defendants’ legally erroneous argument

improperly raised in their reply brief, which neglected to inform the Court that Oregon has tolled

the relevant statutes of limitations due to the COVID-19 pandemic, from March 30, 2020 to the

present. The State Defendants admit that their argument relied on by the Court was improperly

raised in the State Defendants’ reply and erroneously neglected to disclose Oregon’s extension

on statutes of limitation.

        The Court GRANTS Plaintiff’s motion for reconsideration (ECF 36). As the State

Defendants’ concede, Plaintiff is correct that the Court’s August 25, 2021 Opinion and Order

includes legal error. Due to Oregon’s COVID-19 related tolling of the statutes of limitation, the

relevant statutes of limitation did not expire on June 12, 2020, as found by the Court. The Court

DENIES the State Defendants’ motion for summary judgment (ECF 14). Nothing in this Order,

however, precludes the State Defendants from making any appropriate statute of limitations

argument to the jury.

        IT IS SO ORDERED.

        DATED this 29th day of September, 2021.

                                                     /s/ Michael H. Simon
                                                     Michael H. Simon
                                                     United States District Judge




PAGE 2 – OPINION AND ORDER
